        Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 1 of 17



              IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

TOMMIA DEAN,

            Plaintiff

v.

SAMUEL S. OLENS, EARL
EHRHART, NEIL WARREN,                     CIVIL ACTION FILE
SCOTT WHITLOCK and MATT                   NO. ___________
GRIFFIN,


            Defendants.



                               COMPLAINT

      COMES NOW TOMMIA DEAN (“Plaintiff” or “Ms. Dean”) and files this

Complaint against Samuel S. Olens (“Olens”), Earl Ehrhart (“Ehrhart”), Neil

Warren (“Warren”), Scott Whitlock (“Whitlock”) and Matt Griffin (“Griffin”)

(collectively “Defendants”):

                 PARTIES, VENUE AND JURISDICTION

                                     1.

      This action is brought pursuant to 28 U.S.C. §§ 1983 and 1985, and this

Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331.
        Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 2 of 17



                                      2.

      Plaintiff Tommia Dean is a citizen of the State of Georgia and resides

in Fulton County, Georgia. Ms. Dean is a sophomore at Kennesaw State

University (“KSU”).

                                      3.

      Defendant Olens is a citizen of the State of Georgia and resides in Cobb

County, Georgia. Olens is the former President of KSU.

                                      4.

      Defendant Ehrhart is a citizen of the State of Georgia and resides in

Cobb County, Georgia. Ehrhart is a member of the State of Georgia House of

Representatives and represents District 36.

                                      5.

      Defendant Neil Warren is a citizen of the State of Georgia and resides

in Cobb County, Georgia. Warren is Sherriff of Cobb County.

                                      6.

      Defendant Scott Whitlock is a citizen of the State of Georgia.

                                      7.

      Defendant Matt Griffin is a citizen of the State of Georgia.

                                      8.

      This Court has personal jurisdiction over each of the Defendants and

venue in this Court is proper under 28 U.S.C. §§ 1391.

PLAINTIFF’S COMPLAINT               Page 2
        Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 3 of 17



                                     FACTS


                                        9.

      During pre-season football games in 2016, San Francisco Forty-Niners

quarterback Colin Kaepernick refused to stand during the playing of the

national anthem, instead kneeling to protest police brutality against black

Americans. Explaining why he would not stand during the national anthem,

Kaepernick stated: “There are a lot of things that are going on that are unjust

[that] people aren’t being held accountable for. And that’s something that

needs to change. That’s something that this country stands for – freedom,

liberty, justice for all. And its’ not happening for all right now.”

                                        10.

      Kaepernick’s actions drew angry disapproval but also praise. One

writer stated: “The quietness of his action invited loud disapproval.” Kareem

Abdul Jabber described Kaepernick’s actions as deeply patriotic:

      Patriotism isn’t just getting teary-eyed on the Fourth of July or
      choked up at war memorials. It’s supporting what the Fourth of
      July celebrates and what those war memorials commemorate: the
      U.S. Constitution’s insistence that all people should have the
      same rights and opportunities and that it is the obligation of the
      government to make that happen. When the government fails in
      those obligations, it is the responsibility of patriots to speak up
      and remind them of their duty.




PLAINTIFF’S COMPLAINT                 Page 3
        Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 4 of 17



                                       11.

      In the 2017 season, the issue became inflamed again across the Nation,

and hundreds of NFL players again began kneeling during the national

anthem.

                                       12.

      Also in September, 2017, the cheerleaders at KSU, including Plaintiff

Dean, began discussing amongst themselves whether they too should kneel

during the national anthem. Kneeling during the national anthem had not

become an issue for college football players, for the simple reason that teams

typically stay in their locker rooms until the anthem is over. However,

cheerleaders at KSU and other schools in the region (such as Georgia Tech

the University of Georgia) would always remain on the field during the

playing of the anthem. The KSU cheerleaders learned that other college

cheerleaders had knelt during the playing of national anthem, and decided,

after prayer and discussion, that they would do the same.

                                       13.

      During the second home game of the KSU football season on Saturday,

September 30, 2017, Ms. Dean and four other KSU cheerleaders knelt during

the playing of the national anthem.

                                       14.

      Defendant Olens, at the time the President of KSU, did not attend the

PLAINTIFF’S COMPLAINT                 Page 4
        Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 5 of 17



September 30 football game, but learned from other KSU officials later that

day that the cheerleaders had knelt during the national anthem.

                                     15.

      When Olens learned that the cheerleaders had knelt during the

national anthem, he emailed KSU Vice President for Student Affairs K.C.

White and told him that he was concerned about the cheerleaders’ protest

and directed Dr. White to schedule a meeting with the cheerleaders the

following week.

                                     16.

      At the time, Olens was aware that the cheerleaders had a First

Amendment right to kneel during the national anthem.

                                     17.

      Olens also was aware of KSU policy, which specifically protects

freedom of expression, even if the expression contradicts “personal views of

university employees and students,” and directs members of the faculty, staff

and student body to refrain from “behaviors that threaten the rights,

freedoms and respect every individual deserves.” KSU Freedom of Assembly

and Expression Policy (Student Handbook, 2015-2016, and 2018-2018 draft,

available at catalogue.kennesaw.edu/index).




PLAINTIFF’S COMPLAINT               Page 5
        Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 6 of 17



                                       18.

      Olens also was aware of the policy of the Board of Regents of the State

of Georgia, which provides: “The rights guaranteed by the First Amendment,

including the right to free speech, free expression, free exercise of religion,

and the right to assemble peaceably are of the utmost importance, and the

University System of Georgia (USG) is committed to protecting those rights.”

The policy of the Board of Regents states further: “Any parameters on the

time, place and manner of expression must not be based on the content of the

expression.” (Board of Regents Policy Manual, Section 6.5, available at

www.usg.edu/policymanual/section6/C2653).

                                       19.

      The next day, October 1, 2017, Defendant Ehrhart called Defendant

Whitlock, the Senior Assistant Athletic Director of KSU (“Whitlock”), and

told Whitlock that the cheerleaders should not be allowed to kneel during the

national anthem.

                                       20.

      On October 2, 2017, Olens attended a meeting of the presidents of the

University System of Georgia. During the meeting, the University System

Office staff relayed to the University System of Georgia presidents, including

Olens, advice from the State of Georgia Attorney General’s Office that,

pursuant to the First Amendment, students could not be prohibited from

PLAINTIFF’S COMPLAINT                 Page 6
        Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 7 of 17



kneeling during the national anthem so long as the expression was not

dispruptive.    The presidents were further informed that any action relating

to the issue should be discussed with the University System Office prior to

implementation.

                                      21.

      Also on October 2, 2017, Ehrhart called Olens and told him that

cheerleaders should not be permitted to kneel during the national anthem

and that any cheerleaders who continued to kneel should be removed from

the team. Either during this phone call or another communication, Olens

assured Ehrhart that the cheerleaders at KSU would not again be kneeling

during the national anthem.

                                      22.

      Also on October 2, 2017, Defendant Warren, Cobb County Sheriff,

called Olens and told him that cheerleaders should not be permitted to kneel

during the national anthem.

                                      23.

      On the morning of October 4, 2017, Defendant Whitlock and Defendant

Griffin, at the time the Interim Athletic Director at KSU, called a meeting

with KSU officials Brandon Asciutto (head coach of the cheerleading teams),

Josh Baker (Director of Marketing and Fan Expience), Michael DeGeorge

(Assistant Athletic Director) and Natasha Koutnk (Graphic Designer).

PLAINTIFF’S COMPLAINT                Page 7
        Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 8 of 17



Whitlock announced that, at the next home game, cheerleaders would not be

allowed on the field during the national anthem, but would remain in the

stadium tunnel with the mascot. At the meeting, and again following the

meeting, Assistant Athletic Director DeGeorge raised concerns about the

timing of the change, as the cheerleaders had knelt during the national

anthem at the prior week’s game.

                                     24.

      During the afternoon of October 4, 2017, Interim Athletic Director

Griffin met with Olens to obtain permission to make the change to the pre-

game routine, explaining that the cheerleaders would no longer be on the

field during the national anthem. At the meeting, Olens gave Griffin

permission to make the change. The only purpose of making the change was

to appease Defendants Ehrhart and Warren.

                                     25.

      On Friday, October 6, 2017, Warren again called Olens about the

cheerleader kneeling during the national anthem. Olens assured Warren

that “it would not happen again.” Specifically, Olens told Warren that the

cheerleaders would not be on the field during the national anthem.

                                     26.

      According to an article published on October 6, 2017, in the Marietta

Deaily Journal: “Ehrhart said Attorney General Chris Carr and Olens have

PLAINTIFF’S COMPLAINT               Page 8
        Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 9 of 17



been helpful in the situation and he believes the behavor [that is, kneeling

during the national anthem] will not occur at KSU again.”

                                      27.

      KSU played a home football game the next day, October 7, 2017.

Normally, the cheerleaders would run out to the field prior to the start of the

national anthem. On October 7, 2017, however, and consistent with

Defendant Whitlock’s October 4 instructions to the Athletic Department,

which had been specifically approved by Olens, representatives of the KSU

Athletic Department held the cheerleaders in the tunnel until the national

anthem was over, at which time they were allowed to return to the field and

cheer for their team.

                                      28.

      At no prior home football game in KSU’s history had the cheerleaders

not been on the field during the playing of the national anthem.



                                      29.

      Warren and Ehrhart took credit for their concerted effort in pressuring

Olens into not allowing the cheerleaders on to the field. In a text message,

Warren stated: “Not letting the cheerleaders come out on the field until after

national anthem was one of the recommendations that Earl [Ehrhart] and I

gave him [Olens]!” In a text to Warren, Ehrhart stated: “He [Olens] had to be

PLAINTIFF’S COMPLAINT                Page 9
       Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 10 of 17



dragged there but with you and I pushing he had no choice. Thanks for you

patriotism my friend.”

                                       30.

      Ehrhart is the chairman of the House Committee that determines the

budget for the University of Georgia System, including KSU. Ehrhart has

described himself as “the funding source” of the University System, and has a

history of using the power of the purse to bully adminstrators at Georgia

state universities into complying with his personal agenda.

                                       31.

      Ehrhart’s statements to Olens and Warren were not made in

furtherance of legislation and did involve any legislative activity.

                                       32.

      The pressure that Ehrhart brought upon Olens was not pursuant to

any legislation or any legislative activity.

                                       33.

      Ehrhart and Warren used their power and influence to create a

threatening atmosphere for any groups daring to exercise the privileges and

immunities guaranteed by the U.S. Constitution.

                                       34.

       In a Marietta Daily Journal article that ran October 9, 2017, columnist

Dick Yarbrough wrote, “Well, I don’t know if you kids have taken any

PLAINTIFF’S COMPLAINT                Page 10
       Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 11 of 17



political science courses yet but the sheriff, any sheriff, is about the last

person you want to mess with in any county. Neil Warren is an affable man

but your antics have riled him something fierce. . . . Again these guys

[Warren and Ehrhart] are very upset with you. Don’t say I didn’t warn you.”

The threat of physical harm or unjustified arrest is plain and palpable. On

information and belief, Defendants Warren and Ehrhart cooperated with and

encouraged Mr. Yarborough to write the article.

                                        35.

      In October, 2017, KSU students led protests in support of the KSU

cheerleaders.

                                        36.

      On October 18, 2017, Dr. Steve Wrigley, Chancellor of the University

System of Georgia, directed the Board of Regents’ Office of Legal Affairs to

conduct a special review of the actions taken at KSU following the football

game on September 30, 2017.

                                        37.

      As the Board of Regents’ review was ongoing, at the next home football

game, on October 21, 2017, the cheerleaders were again not allowed on the

field during the playing of the national anthem. Four members of the

cheerleading team, including Plaintiff Dean, knelt in the tunnel during the

playing of the anthem.

PLAINTIFF’S COMPLAINT                 Page 11
       Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 12 of 17



                                      38.

      On November 8, 2017, under pressure from students, faculty, the press,

and the Board of Regents, Olens wrote a letter to Kennesaw students, faculty

and staff, stating that he had “decided that at Kennesaw State’s next home

game on November 11, the pre-game program will be restored to its original

format, with the cheerleaders taking the field before the singing of the

National Anthem.” Olens stated: “While I believe there are more effective

ways to initiate an exchange of ideas on issues of national concern, the right

to exercise one’s freedom of speech under the First Amendment must be

protected.”

                                      39.

      On November 14, 2017, the Office of Legal Affairs of the Board of

Regents issued their report (“the Regent’s Report”). The Regent’s Report

states that Olens was aware of the decision to bar the cheerleaders from

entering the field during the national anthem “and did nothing to stop the

change.” The Regent’s Report also states that: “President Olens also did not

advise the University System Office of the proposed change, though he was

instructed to do so earlier that week.”

                                      40.

      The Regent’s Report also addressed Defendants’ pretextual reason for

forcing the cheerleaders to stay in the stadium tunnel during the national

PLAINTIFF’S COMPLAINT               Page 12
       Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 13 of 17



anthem. The KSU Athletic Department had stated that the decision to keep

the cheerleaders in the tunnel during the national anthem was not related to

the cheerlearing kneeling, but rather was made to “alleviate a two-minute

gap in the pregame music.” The Regent’s Report states: “Their explanation is

called into question, however, by the timing of the change and the fact that

those who noticed the gap in pregame music in 2017 thought it was remedied

by other means.”

 COUNT ONE – SECTION 1983 – DEFENDANTS OLENS, WHITLOCK
                      AND GRIFFIN

                                      41.

      The allegations of the previous paragraphs are incorporated by

reference.

                                      42.

      Kneeling during the national anthem constitutes expressive speech

protected by the First and Fourteenth Amendments to the U.S. Consitution.

                                      43.

      The actions of Defendants Whitlock and Griffin constituted a

conspiracy with Olens to deprive Plaintiff Dean of her constitutional rights

guaranteed by the First and Fourteenth Amendments to the U.S.

Constitution.




PLAINTIFF’S COMPLAINT               Page 13
       Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 14 of 17



                                       44.

      By prohibiting the cheerleaders, including Plaintiff Dean, from taking

the field and kneeling during the national anthem, Defendant Olens,

Whitlock and Griffin in conspiracy under the pretext of improving the fan

experience and acting under color of state law, violated Plaintiff Dean’s

clearly established constitutional rights of which a reasonable person and

government official would have known.

                                       45.

      As a result of the conduct of Olens, Whitlock and Griffen, Plaintiff

Dean has suffered actual compensable injury, including the onset and

increase in migraine headaches and emotional distress over the loss of her

constitutional rights an the threat of retaliatory action.

                                       46.

      In the alternative to actual compensatory damages, Plaintiff is entitled

to an award of nominal damages for the violation of her constitutional rights.

                                       47.

      Plaintiff also is entitled to an award of punitive damages because these

Defendants’ conduct involves recklessness or callous indifference to the

federally protected rights of others, including Plaintiff.




PLAINTIFF’S COMPLAINT                Page 14
       Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 15 of 17



          COUNT TWO – KU KLUX KLAN ACT CONSPIRACY-
                   EHRHART AND WARREN


                                      48.

      The allegations of the previous paragraphs are incorporated by

reference.

                                      49.

      Defendant Ehrhart and Warren were participating in a private

conspiracy actionable under the Ku Klux Klan Act, 28 U.S.C. § 1985(3).

                                      50.

      All of the KSU cheerleaders who knelt during the national anthem are

African American, and the purpose of kneeling during the national anthem is

to protest police brutality against African Americans. Defendant Ehrhart

and Warren engaged in the conspiracy against Plaintiff because of her race

and because of she was protesting police brutality against African Americans.

                                      51.

      Defendant Ehrhart and Warren engaged in a conspiracy for the

purpose of influencing the state to deprive Plaintiff Dean of her federally

protected constitutional rights, took affirmative actions in furtherance of that

conspiracy, and succeeded in influencing the state to in fact deprive Plaintiff

Dean of her federally protected constitutional rights.



PLAINTIFF’S COMPLAINT               Page 15
       Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 16 of 17



                                       52.

      As a result of the conduct of Defendant Ehrhart and Warren, Plaintiff

Dean has suffered actual compensable injury, as alleged above.

                                       53.

      In the alternative to actual compensatory damages, Plaintiff is entitled

to an award of nominal damages for the violation of her constitutional rights.

                                       54.

      Plaintiff also is entitled to an award of punitive damages because

Defendants’ conduct involves recklessness or callous indifference to the

federally protected rights of others, including Plaintiff.

      WHEREFORE, Plaintiff Tommia Dean prays:

      A. For an award of compensatory and nominal damages as determined

         by the enlightened conscience of the jury;

      B. For an award of punitive damages;

      C. For an award of attorney’s fees;

      D. For a trial by jury on all issues so triable; and

      E. For such other and further relief as required under the

         circumstances.

      This 5st day of September, 2018.




PLAINTIFF’S COMPLAINT                Page 16
       Case 1:18-cv-04224-TCB Document 1 Filed 09/05/18 Page 17 of 17




________________                      ________________
Randolph A. Mayer                     Bruce P. Brown
Georgia Bar No. 479350                Georgia Bar No. 064460
MAYER & HARPER                        Bruce P. Brown Law LLC
50 Hurt Plaza SE                      1123 Zonolite Rd. NE, Suite 6
Suite 1640                            Atlanta, Georgia 30306
Atlanta, GA 30303                     (404) 881-0700
(404) 584-9588




PLAINTIFF’S COMPLAINT             Page 17
